Case 22-18807-JNP        Doc 87    Filed 10/17/23 Entered 10/18/23 14:17:09              Desc Main
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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in compliance with D.N.J. 9004-1(b)                      Order Filed on October 17, 2023
                                                                   by Clerk
                                                                   U.S. Bankruptcy Court
  Lavin, Cedrone, Graver, Boyd & DiSipio                           District of New Jersey
  Formed in the State of PA
  Regina Cohen
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  In Re:

  A-ONE LEASING, LLC, Debtor                       Case No.: 22-18807-JNP

                                                   Judge: Jerrold N. Poslusny Jr.


                                   ORDER VACATING STAY

      The Relief set forth on the following pages, numbered two (2) through two (2) is hereby
 ORDERED.




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 2
 Debtor:               A-One Leasing, LLC
 Case No.:             22-18807-JNP
 Caption of Order:     Order Vacating Stay as To Collateral

       Upon consideration of Ally Capital's Motion for an Order Vacating the Automatic Stay as to certain

 collateral hereinafter set forth, and good cause appearing; therefore, it is hereby

       ORDERED that the automatic stay of the Bankruptcy Code 362(a) is vacated to permit the
 Movant to pursue its rights in the collateral described below to the extent and in the manner provided by

 any applicable contract documents and non-bankruptcy law.

       It is further ORDERED that this grant of relief from stay shall remain in full force and effect,

 notwithstanding any subsequent conversion of this case to another chapter.
       The movant shall serve this order on the Debtor, any trustee and any other party who entered an

 appearance on the motion.
         Collateral more fully described as:

                         2018 Ram Ram 2500 Crew Cab Tradesman 4WD 6.4L V8
                         V.I.N. 3C6UR5HJ2JG396065
